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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

                                             )
USA                                          )
                                             )       Case No: 13-cr-279
                                             )
v.                                           )
                                             )       Judge: John Z. Lee
Ken Blackman
                                            ORDER




Status hearing held. During the hearing, the government informed the Court of newly
discovered facts regarding one of the audio recordings that was admitted in evidence during the
trial. The government also stated its position that a new trial would be appropriate in light of
these new facts. Based upon these statements and for the reasons stated on the record,
Defendant’s motion for a new trial [126] is granted. The briefing schedule previously entered is
moot. The jury verdict rendered on 2/24/14 is vacated. Defendant’s motion for judgment of
acquittal [125] which requests that the jury verdict be set aside is denied as moot. The parties
have requested a change of plea date. A change of plea is set for 6/25/14 at 12:30 p.m. Time is
excluded from 5/21/14 through 6/25/14 without objection in the interests of justice pursuant to
18 U.S.C. 3161(h)(7)(A)-(B) to provide the parties additional time for plea negotiations and trial
preparations. XT




Date: 5/21/14
                                                    ________________________
                                                    John Z. Lee
                                                    U.S. District Court Judge

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